Case 1:06-cr-00020-IMK-JSK Document 470 Filed 02/12/07 Page 1 of 2 PageID #: 1240




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

         v.                                            Criminal No. 1:06CR20-4

  ILLES WILLIAM,
                         Defendant.

                                         ORDER/OPINION

         On the 7th day of February 2007, came the Defendant, Illes William, in person and by his

  counsel, Lance E. Rollo, and also came the United States by its Assistant United States Attorney,

  Zelda E. Wesley, pursuant to a Petition for Action on Conditions of Pretrial Release filed in this

  case on January 26, 2007, alleging Defendant violated his conditions of release as follows:

  1.     Violation of Condition # 1. The defendant shall not commit any offense in violation of
         federal, state, or local law while on release in this case.

  2.     Violation of Condition #7(p): The defendant shall refrain from the use or unlawful
         possession of a narcotic drug or other controlled substances defined in 21 U.S.C. § 802,
         unless prescribed by a licensed medical practitioner.

         On November 8, 2006, the West Virginia State Police made a controlled purchase
         of cocaine from the defendant. The offense occurred in Fairmont, West Virginia and
         involved $40 worth of powder cocaine.

         It is noted that the defendant entered a plea of Guilty before the undersigned United States

  Magistrate Judge on September 19, 2006. The Report and Recommendation/Opinion of the

  undersigned United States Magistrate Judge was adopted by the Honorable Irene M. Keeley, Chief

  United States District Judge on October 3, 2006, who also Ordered Defendants’s unsecured personal

  recognizance bond continued.

         Prior to the taking of evidence, Defendant waived the preliminary hearing, conceding

  probable cause existed to forward this revocation matter to Chief United States District Judge Irene

  M. Keeley for hearing and disposition.
Case 1:06-cr-00020-IMK-JSK Document 470 Filed 02/12/07 Page 2 of 2 PageID #: 1241




          Upon consideration of all which, the Court finds there is probable cause to believe that the

  defendant violated the condition of his pretrial post-plea release as alleged in the Petition for Action

  on Conditions of Pretrial Release filed January 26, 2007.

         Defendant moved the Court for his continued release on bond pending further proceedings.

  For reasons apparent to the Court and as stated on the record of the hearing, Defendant’s Motion is

  DENIED.

           It is therefore ORDERED that the defendant be bound over for a full hearing before the

  Honorable Irene M. Keeley, Chief United States District Judge for the Northern District of West

  Virginia on the violations alleged in the Petition for Action on Conditions of Pretrial Release filed

  January 26, 2007.

         It is further

         ORDERED that Defendant be remanded to the custody of the United States Marshal

  pending further proceedings herein.

         The clerk of the court is directed to send a copy of this order to counsel of record.

         DATED: February         9th, 2007.

                                                         /s John S. Kaull


                                                         JOHN S. KAULL
                                                         UNITED STATES MAGISTRATE JUDGE
